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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

HASSAN MEGUID                                   §
                                                §
       Plaintiff,                               §
                                                §
V.                                              §     CIVIL ACTION NO. 4:24-CV-02988
                                                §
                                                §
CAPITAL FUND I LLC                              §
                                                §
       Defendant.                               §
                      MOTION FOR SUBSTITUTION OF COUNSEL

        Defendant Capital Fund I, LLC (“Capital Fund”) files this Motion for Substitution of

Counsel, respectfully stating as follows:

       1.      Travis H. Gray of Jack O Boyle and Associates is Current Counsel of record for

 Capital fund I, LLC

       2.      Capital Fund I, LLC now requests that the Court permit Travis H Gray and the

 law firm of Jack O’Boyle & Associates to withdraw as counsel for Capital Fund, and the Court

 substitute Andrew Bell, Melissa Alonso, and Jessie Manzewitsch, of the law firm Bradley

 Arant Boult Cummings, LLP as counsel of record for Defendant Capital Fund.

       3.      The attorneys request that they receive notice of all pleadings, notices and orders

 filed in this matter at the address below:

                                       Melissa Alonso
                                   malonso@bradley.com
                                       Andrew W. Bell
                                     abell@bradley.com
                                   Jessie R. Manzewitsch Pulero
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                             BRADLEY ARANT BOULT CUMMINGS LLP
                                 600 Travis Street, Suite 5600
                                    Houston, Texas 77002
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   4.       Plaintiff and Current Counsel are unopposed to this Motion

        For these reasons, Defendant Capital Fund I, LLC requests the Court enter an order

granting the substitution of its designated counsel.

                                           Respectfully submitted,




                                           By: /s/ Melissa Gutierrez Alonso

                                           MELISSA GUTIERREZ ALONSO
                                           Texas Bar No. 24087648
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                                           ANDREW W. BELL
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                                           SUBSTITUTED COUNSEL FOR DEFENDANT
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                             CERTIFICATE OF CONFERENCE
       This Substitution of Counsel for Defendant Capital Fund I, LLC is made with the express

consent of Defendant Capital Fund I LLC. I conferred with Current Counsel, Travis H Gray

regarding the substitution, who indicated he was not opposed. I also attempted to confer with

Plaintiff, Pro Se Hassan Meguid, three times via email (on April 14, 16, and 18, 2025) and one

time via telephone (on April 18, 2025) regarding the substitution but did not receive a response.


                                                             /s/ Andrew W. Bell
                                                             Andrew W. Bell




                                CERTIFICATE OF SERVICE
       I certify that on this 18th day of April, 2025, I electronically filed the foregoing with the
Clerk of Court. I further certify that a true and correct copy of the foregoing was served on the
following via the Court’s electronic filing system.


       Hassan Meguid
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       Houston, TX 77099
       Tel. (832) 552-2252

       Plaintiff Pro Se

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       Current Counsel for Defendant Capital Fund I LLC

                                                             /s/ Andrew W. Bell
                                                             Andrew W. Bell
